
Smith, J.
(dissenting). By its ruling, the majority heralds a new era in interpreting oral promises of potentially long-term employment. Because I believe the majority’s conclusion is contrary to precedent, policy and practice, I dissent.
The following facts from the certification by the United States Court of Appeals for the Second Circuit provide a contextual backdrop for the ensuing legal analysis. Plaintiff Kevin Rooney claims that, pursuant to an oral contract in 1982 between himself and Cus D’Amato, legal guardian and manager of defendant Michael Gerard Tyson, then a minor, he was to train Tyson until Tyson turned professional, whereupon he would be Tyson’s trainer “for as long as [Tyson] fought” and would be paid 10% of Tyson’s boxing earnings. After he turned profes*695sional, Tyson initially enjoyed increasing success as a boxer and Rooney was compensated in accordance with the earlier arrangement. However, the personal relationship between the men later soured and on December 9, 1988, Rooney learned that Tyson would no longer train with him.
Rooney then brought the present action against Tyson, claiming a breach of the 1982 employment contract allegedly made by D’Amato. Prior to trial, the court denied Tyson’s motion for summary judgment finding, inter alia, that there were factual issues relating to whether the employment relationship was terminable at will, and whether the contract was unenforceable as one of a close personal nature or because Tyson was a minor at the time it was made.
A jury found in Rooney’s favor and awarded him damages of $4.4 million. However, the United States District Court for the Northern District of New York vacated the jury award and granted defendant Tyson judgment as a matter of law. The court ruled that “the alleged term of the employment contract, ‘for as long as Tyson boxes professionally,’ does not state a term of definite duration as a matter of law” (Rooney v Tyson, 956 F Supp 213, 216). The court further held that “the nature of the proof offered at trial cannot sustain a finding that the employment relationship was anything other than one at-will” (id., at 216). Rooney appealed the court’s decision to the United States Court of Appeals for the Second Circuit.
On appeal, the Second Circuit certified the following question to this Court: “Does an oral contract between a fight trainer and a professional boxer to train the boxer ‘for as long as the boxer fights professionally’ establish a definite duration, or does it constitute employment for indefinite duration within the scope of the at-will rule?” (Rooney v Tyson, 127 F3d 295, 298.)
Although the question certified merely asks this Court to determine whether the stated language establishes a definite or indefinite duration, the answer carries significantly varied implications. If the duration of the employment is deemed to be definite, the employment relationship is defined by the contract and is examined under traditional contract principles. On the other hand, if the purported contractual language indicates an indefinite duration, the employment relationship is presumptively at-will, and terminable at any time. In the latter case, the parties could still be bound by the term of employment, though indefinite, if the plaintiff had sufficient *696proof of consideration apart from a mere promise to work. Since the record is not before us, resolution of the latter issue is not required. However, the legal analysis relating thereto is an important consideration in examining the consequences of our answer to the core issue presented.
The majority concludes that the stated contractual language establishes an employment term for a definite duration. However, upon a straightforward application of our precedents in this area, I conclude that the submitted language indicates employment for an indefinite duration.
I
Definite vs Indefinite
Although we have had few occasions to explore the contours of the issue presented, our precedents indicate that a hiring for an “indefinite” duration includes one that may have some definable ending point, but the actual length of employment is not fixed with precision. For example, in Arentz v Morse Dry Dock &amp; Repair Co. (249 NY 439) plaintiff sought to prove “that he was employed for life or at least for as long a time as the defendant remained in business” (id., at 440) based upon an oral promise of “permanent employment.” We characterized the promise as “nothing more than that the employment [was] to continue indefinitely” (Arentz v Morse Dry Dock &amp; Repair Co., 249 NY, at 444; see also, Revere v Boston Copper Co., 32 Mass 351, 361 [“a contract (for life) with a corporation, which is in its nature perpetual, but determinable by some contingent event, is a contract for an indefinite time”]). Similarly, an employment contract which provides that an employee may only be terminated for “just cause” represents a hiring for an indefinite duration (see, Weiner v McGraw-Hill, Inc., 57 NY2d 458).1
*697Such circumstances may be contrasted with an employment relationship where its duration “ ‘is either definite or capable of being determined’” (see, Weiner v McGraw-Hill, Inc., 57 NY2d 458, 465, supra [citation omitted]). In every example addressed by this Court, a “definite” duration was only determinable by reference to a precise calendar date. For example, in Gressing v Musical Instrument Sales Co. (222 NY 215) and Cuppy v Stollwerck Bros. (216 NY 591), the documentary evidence indicated that the parties had contracted for one year of definite employment. In the Gressing case, defendant had guaranteed a certain amount of business annually. In Cuppy, the employer’s letters offered employment for 12 months and a certain rate per year (see also, Carter v Bradlee, 245 App Div 49, affd 269 NY 664 [contract which provided for two-year commitment with provisions to renew on the same terms could not be terminated after the third year of employment]).
It would also appear that parties might specify that employment is to continue indefinitely until the happening of a particular event. However, it is only when the event precisely defines the length of employment that it will be considered of “definite” duration. Thus, a fixed duration may be precisely measured when employment lasts through summer (from the June solstice to the September equinox) or until the next election (first Tuesday in November) but not by the level of a company’s stock, a lifetime or subjective performance evaluations. Indeed, the requirement that the length of the employment relationship be fixed and definite at the time of contracting effectively balances the rights of employees and employers since both will know exactly how long the employment relationship will last. It is only when the length of employment is actually and precisely ascertainable at the time of contracting, removing uncertainty for all, that we have found the duration to be “definite.”
The question is not whether the event that may terminate employment is “fixed” but whether the duration of the relationship is precisely measured by that event. Indeed, as stated long ago in a case decided by the Supreme Judicial Court of Massachusetts:
“The engagement of the plaintiff to perform services, being for the time for which the corporation was established, * * * is for an indefinite time, *698determinable by the dissolution of the corporation in a mode fixed by law” (Revere v Boston Copper Co., 32 Mass 351, 361, supra).
A period of time measured by an individual employer’s continued professional career is indistinguishable from a corporate employer remaining in business. Similarly, career-long employment is akin to a “ ‘permanent’ position” allegedly measured by an employee’s lifetime which we have held is employment of an indefinite duration (see, Arentz v Morse Dry Dock &amp; Repair Co., 249 NY 439, 442, supra).
The majority reasons that contracts for a “permanent” position establish an indefinite duration because they are not “delimited by legally and realistically cognizable boundaries” (majority opn, at 691). The majority inevitably concludes that the ending of a professional boxing career is somehow more definite than death. Rather, both contracts, so delimited, indistinguishably define a fixed boundary, but for employment of indefinite duration. The distinction seen by the majority is elusive, to say the least. Indeed, it is difficult to glean the majority’s basis for finding the boundary defining the duration at issue as more “definite” than contracts that are “yearly” or “by the year” (majority opn, at 691).
The majority concludes that a period which might last any length could still be characterized as “definite” and “fixed.” Though the condition which might terminate the employment relationship is defined, the time in which the relationship might endure is obviously far from “definite.” By focusing on the definiteness of how employment might be limited rather than the definiteness of the term of employment, the majority reshapes precedent to hold that a stated event which could terminate an employment relationship, but which might occur at any time, may also definitively fix the duration of employment as a matter of law.
The most troubling aspect of the majority’s ruling is its consequences. The doctrine of at-will employment has served as the judicial bedrock of New York employment law since 1896. By creating a subcategory of employment relationships where the duration has “some definiteness” (majority opn, at 690), the majority chips away at the precedential foundation that this Court has consistently applied. As exposed below, the shift taken by the majority in concluding that the submitted language creates employment for a definite term may have *699substantial ramifications upon employment law as a practical matter.2
II
The Consequences of the Majority’s Ruling on Employment Law
For over a century, this Court has strictly and steadfastly adhered to the approach that a general hiring or employment for an indefinite period, where no specific time is fixed for the duration of the employment, is presumptively “at-will” (see, e.g., Murphy v American Home Prods. Corp., 58 NY2d 293, 301; Sabetay v Sterling Drug, 69 NY2d 329, 333; see also, Arledge v Stratmar Sys., 948 F2d 845, 848 [“the resoluteness with which the New York Court of Appeals has reaffirmed the ‘at will’ rule indicates that exceptions to the rule are discouraged”]). The majority’s ruling that the stated language defines an employment contract of definite duration avoids the at-will presumption and eliminates important elements of proof that we have always required under substantially similar facts.
Underpinnings of At-Will Employment
In Martin v New York Life Ins. Co. (148 NY 117), this Court examined the nature of a “general hiring” (id., at 120) which, by definition, said “nothing * * * as to its duration” (2 Story, Contracts § 1290 [5th ed 1874]; see also, Watson v Gugino, 204 NY 535, 540 [a general contract of hiring has no time specified]; Schouler, Domestic Relations § 458 [4th ed 1889] [engagement “without mentioning the time nor the frequency of payment * * * is a general hiring”]). In that case, we adopted a rule of interpretation and proof for claimed employment relationships:
“ With us, the rule is inflexible, that a general or indefinite hiring is prima facie a hiring at will; and if the servant seeks to make it out a yearly hiring, the burden is upon him to establish it by proof. A hiring at so much a day, week, month or year, no time being specified, is an indefinite hiring, and no presumption attaches that it was for a day even, *700but only at the rate fixed for whatever time the party may serve. * * * [I]n all such cases the contract may be put an end to by either party at any time, unless the time is fixed, and a recovery had, at the rate fixed for the services actually rendered’ ” (148 NY, at 121, quoting Wood, Master and Servant § 136 [2d ed 1886]).
Previous courts were divided as to how such contracts should be interpreted. Some authorities had construed general hirings to endure for a year in accordance with the approach taken by the English courts (see, 1 Blackstone, Commentaries, at 425 [1765]) unless the frequency of payments was stated (see, 2 Story, Contracts, § 1291 [5th ed 1874] [“Where wages are payable at a stipulated period, as per week, or month, or half-year, such circumstance, standing alone, indicates that the hiring is for such period”]; Schouler, Domestic Relations § 458 [4th ed 1889] [“if a contract for hiring is at so much per month, it will readily be presumed that the hiring was by the month, even if nothing was said about the term of service”]). In one treatise, it was stated that the English rule of a one-year presumption applied to a general hiring but a “hiring for an indefinite time is only at will” (2 Story, Contracts § 1290 [5th ed 1874]). Both types of employment were presumptively at-will under the rule espoused by commentator Horace G. Wood (see, Wood, Master and Servant § 136 [2d ed 1886]). In New York, the latter “rule was deliberately adopted, all the judges concurring, to settle the differences of opinion which had prevailed in the lower courts” (Watson v Gugino, 204 NY 535, 541-542, supra).
We have noted that the “original purposes of the employment at-will doctrine were to afford employees the freedom to contract to suit their needs and to allow employers to exercise their best judgment with regard to employment matters” (Sabetay v Sterling Drug, 69 NY2d 329, 333, supra). In fact, the core of the at-will doctrine is the “unfettered” right held by the parties to terminate the employment relationship at any time for any reason not otherwise prohibited by law or public policy (see, Sabetay v Sterling Drug, 69 NY2d, at 337). General or indefinite terms of employment are not even presumed to endure “for a reasonable time” (Haines v City of New York, 41 NY2d 769, 772).3
In accordance with the above-noted rule, any presumption of an at-will relationship may be rebutted with proof that the *701unfettered right to terminate the employment “has been limited by express agreement” (Sabetay v Sterling Drug, supra, 69 NY2d, at 334; see also, O’Connor v Eastman Kodak Co., 65 NY2d 724; Matter of Hanchard v Facilities Dev. Corp., 85 NY2d 638; Parker v Borock, 5 NY2d 156). However, as detailed below, the “burden of establishing the existence of these contractual limitations is heavy” (1 Proskauer, Rose, Goetz and Mendelsohn, New York Employment Law § 2.04 [2] [a]). Particularly relevant here is the principle that the elements and burden of proof required to overcome the at-will presumption are substantially different from that required to succeed in a claim based upon a contract for a definite duration.
Overcoming the At-Will Presumption
Since employment contracts with a definite duration are not presumptively at-will, traditional rules of contract interpretation apply. Typically, a court will not inquire into the adequacy of consideration supporting the parties’ agreement since even the “ ‘slightest consideration is sufficient to support the most onerous obligation’ ” (Mencher v Weiss, 306 NY 1, 8; see also, Weiner v McGraw-Hill, Inc., supra, 57 NY2d, at 464; 1 Proskauer, Rose, Goetz and Mendelsohn, New York Employment Law § 2.03 [2] [“New York courts have rarely refused to uphold an employment contract for lack of consideration”]; Bakaly and Grossman, Modern Law of Employment Contracts § 3.2 [2d ed] [“adequacy of consideration is rarely an issue in employment contracts”]). Accordingly, an employee’s mere promise to work could potentially support a promise of work for a definite term of years.
*702However, a promise of employment which might last anywhere from a day to a decade is insufficient, standing alone, to indicate an actual intention to be potentially and absolutely bound to obligations far in excess of an ordinary employment at-will relationship. While “ ‘the manifestation of a party’s intention rather than the actual or real intention is ordinarily controlling’ ” (Mencher v Weiss, supra, 306 NY, at 7 [citation omitted]), promises of employment of indefinite duration — such as that measured by the physical or professional life of either party — are simply too unusual to be taken at face value. Such assumptions are of greying vintage (Heaman v Rowell Co., 261 NY 229, 231 [“Alleged contracts of life employment are * * * so unusual as to have been, with rare exceptions, condemned by the courts as unreasonable and unauthorized”]).
In Arentz v Morse Dry Dock &amp; Repair Co. (249 NY 439, supra), we noted that, “[standing alone and by themselves,” the words “permanent employment” do not guarantee a job for life when used in contracts between employers and employees (id., at 444). We distinguished the matter from cases where such intent was demonstrated “from the circumstances * * * and from the consideration which has been furnished” (id., at 444). As an example, we cited Rague v New York Evening Journal Publ. Co. (164 App Div 126), a case in which the Court held in favor of a plaintiff who sued to enforce an oral agreement under which defendant promised to pay him for “as long as he abstained” from selling a rival newspaper (id., at 126). The Court expressly observed that the contract “was not without consideration, as the plaintiff abandoned a valuable business” (id., at 126).
Another case we cited approvingly was Pierce v Tennessee Coal, Iron &amp; R. R. Co. (173 US 1), where the plaintiff had been employed as a machinist in the defendant’s coal mine when he was seriously hurt under conditions which plaintiff claimed rendered defendant liable to him in damages. The contract at issue required plaintiff to receive certain wages and benefits “so long as his disability to do full work continued; and that, in consideration of these promises of the defendant, the plaintiff agreed to do such work as he could, and to release the defendant from all liability upon his claim for damages for his personal injuries” (id., at 9). At trial, plaintiff proved that he was permanently disabled by his injuries; that he was always ready and willing to do such work for defendant as he was able; and that defendant, without reasonable ground therefor, discontinued payments to plaintiff and disregarded the *703contract. Where such facts were “proved to the satisfaction of the jury,” the Supreme Court held that defendant “committed an absolute breach of the contract, at a time when the plaintiff was entitled to require performance” (id., at 16). Clearly, more was involved in that case than the mere allegation that wages were promised “so long as” plaintiff was disabled, an indefinite period.
As one court has stated the rule:
“Under circumstances where an employee has given consideration of benefit to the employer, additional to the services of employment, a contract for permanent employment is valid and enforceable and not against public policy and continues to operate as long as the employer remains in business and has work for the employee, and the employee is willing and able to do his work satisfactorily and does not give cause for his discharge” (Forrer v Sears, Roebuck &amp; Co., 36 Wis 2d 388, 394, 153 NW2d 587, 590).
In a later case, this Court explicitly held that “a contract for employment for life * * * based on an adequate consideration, will ordinarily be sustained” (Heaman v Rowell Co., 261 NY 229, 231, supra) and other “as long as”-type employment relationships recognized by this Court as binding have all involved continuing performance and consideration given by the employee independent of a mere promise to work for the employer (see, e.g., Cammack v Slattery &amp; Bro., 241 NY 39, 42 [employer held to promise to continue paying royalties for indefinite period when it continued to sell radiators “which embodied ideas and conformed to plans developed by the plaintiff”]; Ehrenworth v Stuhmer &amp; Co., 229 NY 210, 215 [agreement to sell defendant’s bread “as long as” the parties were in business was supported by consideration given on both sides]; Schwarz v Regensburg &amp; Sons, 227 NY 568 [payments for life upheld upon promise not to compete with defendants in business]; cf., Rubin v Dairymen’s League Co-op. Assn., 284 NY 32, 38 [Court upheld lower court’s finding of fact that “agreement was ‘unilateral as to time and could be terminated by either party at any time’ ”]).
More recently, in Weiner v McGraw-Hill, Inc. (57 NY2d 458, supra), we concluded that a jury question had been raised as to whether plaintiff was entitled to employment indefinitely in light of a claimed promise by defendant “not to discharge [him] *704without just and sufficient cause and an opportunity for rehabilitation” {id., at 466). In that case, we concluded that plaintiff had alleged, inter alia, sufficient facts to support the conclusion that he had detrimentally relied upon defendant’s assurance that he would not be discharged without cause. We have characterized such factors to be “significant” in a claim of breach of an employment contract for an indefinite duration (Sabetay v Sterling Drug, supra, 69 NY2d, at 334) and the absence of such pleading and proof may be fatal to such a claim (see, e.g., O’Connor v Eastman Kodak Co., 65 NY2d 724, supra; Matter of De Petris v Union Settlement Assn., 86 NY2d 406).
Although each of these cases raised different issues relating to pleading and proof based upon the facts presented, it is clear that an employee must show consideration independent of a mere promise to work for an employer to overcome the presumption of at-will employment. In this case, though analogous to those requiring such additional proof, the majority finds that the employment is for a definite duration as a matter of law and, thus, a traditional contract analysis would apply. Thus, the majority’s ruling relieves plaintiff from having to prove elements we have recognized as necessary for recovery upon similar facts.
No one claims that Tyson must train under Rooney despite the strain in their personal relationship. In contemplation of such circumstances, it may well be that Tyson and/or his guardian never intended that Rooney be paid even in the absence of an ongoing, actual training relationship. It is also possible that sufficient proof exists in the record to sustain the plaintiff’s claim regarding the parties’ intention. However, that question and that proof are not before us. While the District Court concluded that “the nature of the proof offered at trial cannot sustain a finding that the employment relationship was anything other than one at-will” (Rooney v Tyson, 956 F Supp 213, 216, supra), no opinion is expressed here on the issue which must be resolved in the Federal courts.
For this case, the Second Circuit has asked this Court to determine whether an oral promise that employment will endure “as long as” defendant’s professional boxing career, standing alone, establishes an employment agreement of definite duration, which effectively reduces to an irrelevancy the requirement of additional circumstances and/or consideration that would be required to rebut an at-will presumption. Rather than analyze this case in accordance with our precedents in which the present circumstances neatly fit, the majority carves *705out a category of employment contracts from the at-will rebut-table presumption.4
Consideration of the Statute of Frauds
The majority’s reliance upon oral promises of job security is also troubling in light of other concerns we have articulated in this area. An employment contract of a definite duration beyond a year may avoid application of the at-will presumption but must be in writing to be enforceable at all (see, General Obligations Law § 5-701 [a] [1]). Though, in some circumstances, oral contracts may bind parties as tightly as those that are written, it is clear that a writing subscribed by the party to be charged with long-term obligations is the most reliable indicator of actual intent (see, Burns v McCormick, 233 NY 230, 234 [Cardozo, J.] [“The peril of perjury and error is latent in the spoken promise”]). Indeed, in Arentz v Morse Dry Dock &amp; Repair Co. (249 NY 439, supra), we opined that “[a]n agreement to employ the plaintiff * * * for life is so unusual that we would expect to find it contained in some writing” (id., at 441).5 Here, the potentially long-term obligations recognized by the majority as a matter of law would not be barred by the Statute of Frauds because Tyson concedes that his professional career might have ended within a year. Thus, the majority’s decision manages to sidestep the level of proof we have recognized as necessary under both the at-will presumption and the Statute of Frauds.
Of course, such concerns do not inform the previously reached conclusion herein that the contractual language at issue is for employment of indefinite duration, the sole issue submitted for our determination by the Second Circuit. Contrary to the majority’s characterization of the dissent, the “oral nature” of the contract at issue is not the basis of the difference in conclusions reached on definiteness.
Conclusion
The ultimate question is not whether the agreement is void for indefiniteness but whether the parties intended to be bound *706to the claimed obligations. We have conclusively held that “permanent” or “lifetime” employment is of indefinite duration— though fixed by a particular event — but may yet be enforced when such intent is indicated by the giving of consideration. “Permanent” employment logically and readily encompasses circumstances in which either party ends its professional life through death, retirement, bankruptcy or any other means. The majority recasts precedent to hold that an event, which could happen at anytime for any reason, may also precisely fix the length of an employment relationship.
The majority declines to address the broader impact of its ruling upon employment law. However, it has been noted that “[t]here can be no wisdom in the choice of a path unless we know where it will lead” (Cardozo, The Nature of the Judicial Process, in Selected Writings of Benjamin Nathan Cardozo, at 102).
As discussed herein, certain contracts purporting to bind parties to career-long employment, or for some similarly indefinite term, have required a sufficient showing of consideration and/or other facts to overcome the presumption of at-will employment. Ironically, the majority supports its conclusion that the contract at issue is for a definite term by resorting to an analysis of the compensation and consideration rendered by the employee under the contract (see, majority opn, at 692). Whether the contract is for a definite duration does not depend on whether the employee rendered sufficient consideration in reliance upon the contract. Nor does the conclusion regarding the contract term require any reference to the employee’s compensation as a percentage of the defendant’s professional bouts. Such factual issues are more properly directed to the enforceability of the contract itself which must be examined by the Federal court. The conclusion reached herein that the contract is for an indefinite duration depends solely upon the language certified by the Second Circuit.
For the foregoing reasons, I would answer the certified question in the following manner: The purported contractual language indicates employment of indefinite duration which merely raises a rebuttable presumption under the at-will rule. I express no opinion about whether the presumption has been rebutted by plaintiffs evidentiary showing or whether any other grounds exist that might support a motion against the jury’s verdict.
Judges Levine, Ciparick and Wesley concur with Judge Bellacosa; Judge Smith dissents and answers the certified *707question by stating that the purported contractual language indicates employment of indefinite duration which merely raises a rebuttable presumption under the at-will rule, in a separate opinion; Chief Judge Kaye and Judge Titone taking no part.
Following certification of a question by the United States Court of Appeals for the Second Circuit and acceptance of the question by this Court pursuant to section 500.17 of the Rules of the Court of Appeals (22 NYCRR 500.17), and after hearing argument by counsel for the parties and consideration of the briefs and the record submitted, certified question answered as follows: An oral contract between a fight trainer and a professional boxer to train the boxer “for as long as the boxer fights professionally” is a contract for a definite duration.

. Federal authorities dealing with employment contracts are in accord with this approach (see, Wanamaker v Columbian Rope Co., 907 F Supp 522, 538-539 [oral assurance of a permanent career position is indefinite employment], affd 108 F3d 462 [2d Cir 1997]; Wright v Cayan, 817 F2d 999, 1003 [2d Cir 1987] [promise of a “permanent appointment” is employment of indefinite duration]; Hunnewell v Manufacturers Hanover Trust Co., 628 F Supp 759, 762 [“the phrases ‘full working life’ and ‘through normal retirement age’, do not explicitly state a definite term during which plaintiff could expect to remain employed”]; Weiler v National Multiple Sclerosis Socy., 1980 WL 104, 4 [US Dist Ct, SD NY] [“the very phrase, ‘until he chose to retire,’ is indicative of the indefinite time period of the contract”]; Peters v MCI Telecommunications Corp., 685 F Supp 411 [employer’s promise that em*697ployee “ ‘could expect long-term employment’ ” failed to state definite duration]).


. The majority indicates that the dissent takes as its “threshold pivot” an “[i]nitial consideration of the at-will presumption” to answer the question certified (majority opn, at 689). This statement ignores the conclusion reached herein on the issue of “definiteness” prior to any mention of the at-will presumption.


. In interpreting New York law, Federal courts have applied a somewhat different analysis when the “employees” are corporations (see, Don King *701Prods. v Douglas, 742 F Supp 741; Warner-Lambert Pharm. Co. v John J. Reynolds, Inc., 178 F Supp 655, affd 280 F2d 197; Payroll Express Corp. v Aetna Cas. &amp; Sur. Co., 659 F2d 285). In those cases, the courts held that the corporate parties should be bound by the explicit termination provisions of the written service contracts they had freely executed. However, we have noted that “compelling policy reasons” may require a different analysis in employment contracts (see, Haines v City of New York, 41 NY2d 769, 772-773, distinguishing at-will employment cases such as Watson v Gugino, 204 NY 535, supra). Indeed, in Haines, we relied upon authorities such as Benham v World Airways (432 F2d 359), a case in which the Ninth Circuit explicitly noted that “the employment aspect of the contract presented different questions of duration and damage ascertainment from those involved in the joint venturing phase” (id., at 362). In Haines, the agreement did not state how long it was to endure. We implied duration for a “reasonable time” which we concluded was until one party “no longer needed or desired” the service provided by the other — an inference not to be drawn from an indefinite employment relationship (41 NY2d, at 773).


. Although the Second Circuit asked this Court to answer whether the submitted language “establishes” a definite duration, the majority holds that the language “may support a definite duration finding” (majority opn, at 693). The majority further states that “the durational term was * * * reasonably determinable by the fact finders” (majority opn, at 692).


. We have noted that the “Statute of Frauds was originally rooted in the prevention of ‘fraud in the proving of certain legal transactions particularly susceptible to deception, mistake and perjury’ * * * but not ‘ “to afford persons a means of evading just obligations” ’ ” (Cron v Hargro Fabrics, 91 NY2d 362, 370 [citations omitted]).

